     Case 3:20-cr-00021-MMD-CLB Document 40 Filed 10/20/20 Page 1 of 2



1

2

3
                             UNITED STATES DISTRICT COURT
4
                                   DISTRICT OF NEVADA
5
                                               ***
6     UNITED STATES OF AMERICA,                      Case No. 3:19-cr-00010-MMD-WGC

7
                                  Plaintiff,
8           v.

9     SAUD ALESSA,

10
                               Defendant.
11

12    UNITED STATES OF AMERICA,                      Case No. 3:20-cr-00021-MMD-CLB
13

14                                Plaintiff,
            v.
15
      WYATT ELMS,
16

17
                               Defendant.
18

19    UNITED STATES OF AMERICA,                      Case No. 3:20-cr-00026-MMD-WGC
20

21                                Plaintiff,                    ORDER
            v.
22
      GUSTAVO CARRILLO-LOPEZ,
23

24
                               Defendant.
25

26
27         The Court granted in part a motion for access to jury selection records and

28   materials in United States v. Knight, Case No. 3:19-cr-00038-MMD-CLB, ECF No. 68 (D.
     Case 3:20-cr-00021-MMD-CLB Document 40 Filed 10/20/20 Page 2 of 2



1    Nev. Oct. 20, 2020) (the “Order”). The above-referenced cases each contain a similar

2    motion for the same jury selection records and materials. (United States v. Alessa, Case

3    No. 3:19-cr-00010-MMD-WGC (ECF No. 107); United States v. Elms, Case No. 3:20-cr-

4    0021-MMD-CLB (ECF No. 31); United States v. Carrillo-Lopez, Case No. 3:20-cr-00026-

5    MMD-WGC (ECF No. 25.) The Court grants in part and denies in part these three motions

6    in the same way as provided for, and for the reasons stated, in the Order. The Court

7    hereby incorporates by reference the Order from Knight and directs the Clerk of Court to

8    provide the requested information in the above-referenced cases following the same

9    procedures provided for in the Order.

10         DATED THIS 20th Day of October 2020.

11

12
                                             MIRANDA M. DU
13                                           CHIEF UNITED STATES DISTRICT JUDGE
14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                                2
